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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *

Vv. . CRIMINAL NO. JKB-22-0146
RON ELFENBEIN, os

Defendant. *

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JUDGMENT OF ACQUITTAL

The jury’s guilty verdicts are set aside. The Court finds the Defendant NOT GUILTY on
Counts 1, 2, 3, 4, and 5 of the Amended Superseding Indictment. It is ORDERED that the
Defendant is ACQUITTED and DISCHARGED, and any bond or any other obligation as to

Counts 1—5 of the Amended Superseding Indictment is EXONERATED.
DATED this 2 ! day of December, 2023

BY THE COURT:

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James K. Bredar
Chief Judge

